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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF TEXAS
                                 DALLAS DIVISION

UNITED STATES OF AMERICA                       No. 3:18-CR-00409-1

v.

DWAINE CARAWAY



                    JOINT MOTION TO CONTINUE SENTENCING

        The parties jointly move to continue the sentencing of Dwaine Caraway which is

currently set for April 5, 2019. Caraway is a key witness against Ruel Hamilton who

was indicted on February 21, 2019. See United States v. Hamilton, 3:19-CR-083-S.

The government anticipates Hamilton’s case proceeding to trial in the fall of 2019 and

Caraway testifying against Hamilton in that trial. The government believes that it is in

Caraway’s best interests to have the Court fully consider his cooperation before it

determines his sentence.




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                                             Respectfully submitted,


                                             ERIN NEALY COX
                                             UNITED STATES ATTORNEY

                                             /s/ Andrew O. Wirmani
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                              CERTIFICATE OF CONFERENCE

     I hereby certify that on April 4, 2019 I conferred with Michael Payma, counsel for
Dwaine Caraway. Mr. Payma indicated that he joined this motion to continue
Caraway’s sentencing.

                                             /s/ Andrew O. Wirmani
                                             Andrew O. Wirmani
                                             Assistant United States Attorney


                                  CERTIFICATE OF SERVICE

        I hereby certify that on April 4, 2019 I electronically filed the foregoing document
with the Clerk of Court for the United States District Court, Northern District of Texas,
using the electronic case filing system of the Court. The electronic case filing system
sent a ANotice of Electronic Filing@ to counsel for the Defendant and the Probation
Officer.

                                             /s/ Andrew O. Wirmani
                                             Andrew O. Wirmani
                                             Assistant United States Attorney

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